                                                                   Case 3:17-cv-07190-JCS Document 202 Filed 06/30/22 Page 1 of 2



                                                      1   JOHN L. BURRIS, ESQ., SBN 69888
                                                          LAW OFFICES OF JOHN L. BURRIS
                                                      2   Airport Corporate Center
                                                          7677 Oakport Street, Suite 1120
                                                      3   Oakland, CA 94621
                                                          Telephone: (510) 839-5200
                                                      4
                                                          Email: John.Burris@johnburrislaw.com
                                                      5
                                                          ADANTÉ D. POINTER, ESQ., SBN 236229
                                                      6   PATRICK BUELNA, ESQ., SBN 317043
                                                          POINTER & BUELNA, LLP
                                                      7   LAWYERS FOR THE PEOPLE
                                                          Well Fargo Center
                                                      8   1901 Harrison St., Suite 1140
                                                          Oakland, CA 94612
POINTER & BUELNA, LLP - LAWYERS FOR THE PEOPLE




                                                      9   Tel: (510) 929-5400
                                                          Email: APointer@LawyersFTP.com
      155 Filbert St., Ste. 208, Oakland, CA 94607




                                                     10
                                                          Email: PBuelna@LawyersFTP.com
                                                     11
                                                          MELISSA C. NOLD, Esq. SBN 301378
                  Tel: (510) 929 - 5400




                                                     12   NOLD LAW
                                                          Russo Building
                                                     13   521 Georgia Street
                                                          Vallejo, California 94590
                                                     14   Telephone: (707)644-4004
                                                          melissa@noldlaw.com
                                                     15
                                                          Attorneys for Plaintiff
                                                     16
                                                                                     UNITED STATES DISTRICT COURT
                                                     17
                                                                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                     18

                                                     19   PLAINTIFF JUDY O’NEIL, by and thru her )            Case No.: 3:17-cv-07190-JCS
                                                          guardian ad litem, APRIL GREEN;        )
                                                     20                                          )
                                                                         Plaintiff(s),           )            AMENDED [PROPOSED] ORDER
                                                     21                                          )            COMPRISING PLAINTIFF JUDY
                                                          v.                                     )            O’NEIL’S CLAIMS
                                                     22                                          )
                                                                                                 )            HON. JOSEPH C. SPERO
                                                          CITY AND COUNTY OF SAN
                                                     23                                          )
                                                          FRANCISCO, et al.                      )
                                                     24                   Defendant(s).          )
                                                                                                 )
                                                     25                                          )
                                                                                                 )
                                                     26

                                                                                      O’NEIL v CCSF, et al. Case No. 3:17-cv-07190-JCS
                                                                               [PROPOSED] ORDER TO COMPROMISE PLAINTIFF’S CLAIMS
                                                                                                        -1-
                                                                       Case 3:17-cv-07190-JCS Document 202 Filed 06/30/22 Page 2 of 2



                                                      1         After holding a hearing on this matter and reviewing the court’s case file the Court
                                                          hereby ORDERS the following:
                                                      2
                                                                 1. The Compromise and resolution of Plaintiff Judy O’Neil’s claims against all
                                                      3
                                                                     Defendants.
                                                      4

                                                      5          2. The Defendants have agreed and shall pay Plaintiff a total sum of $2,500,000.00 in

                                                      6              exchange for Plaintiff dismissing the entire action with prejudice.

                                                      7          3. The total sum shall be distributed accordingly:

                                                      8                   a. $1,125,000.00 shall be paid to the Law Offices of John L. Burris for
POINTER & BUELNA, LLP - LAWYERS FOR THE PEOPLE




                                                      9                       compensation as reasonable attorney’s fees per the retainer agreement executed
      155 Filbert St., Ste. 208, Oakland, CA 94607




                                                     10
                                                                              by Plaintiff and Attorney John Burris.
                                                     11
                  Tel: (510) 929 - 5400




                                                                          b. $29,964.60 shall be paid to the Law Offices of John L. Burris to repay the case
                                                     12
                                                                              expenses that were advanced by the Law Offices of John L. Burris on Plaintiff’s
                                                     13
                                                                              behalf.
                                                     14
                                                                          c. The remaining balance of $1,345,035.50 shall be made payable to “April Green,
                                                     15
                                                                              Conservator of Judy O’Neil.1” Plaintiff’s portion of the settlement funds will be
                                                     16

                                                     17                       delivered to the Conservator’s attorney, Jessica Jones of the Urbatsch Law Firm.

                                                     18              It is so ORDERED:

                                                     19   Dated: June 30, 2022

                                                     20
                                                                                                        JOSEPH C. SPERO
                                                     21                                                 CHIEF MAGISTRATE JUDGE
                                                     22

                                                     23

                                                     24

                                                     25   1
                                                              On April 7, 2022, Alameda County Superior Court Judge Bean appointed Ms. April O’Neil, Plaintiff’s sister, her

                                                     26   Conservator.


                                                                                           O’NEIL v CCSF, et al. Case No. 3:17-cv-07190-JCS
                                                                                    [PROPOSED] ORDER TO COMPROMISE PLAINTIFF’S CLAIMS
                                                                                                                   -2-
